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   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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  11    DAVID NEWMAN,                           Case No. 2:18-cv-02348 JWH (MAA)
  12                       Petitioner,
              v.                                JUDGMENT
  13
  14    FELICIA PONCE, Warden,
  15                       Respondent.
  16
  17         Pursuant to the Order Accepting Report and Recommendation of the United
  18   States Magistrate Judge,
  19         IT IS ORDERED AND ADJUDGED that the Second Amended Petition is
  20   denied and the action is dismissed with prejudice.
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  22   DATED: November 5, 2020
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                                         JOHN
                                           HN W. HOLCOMB
                                         JOH
  25                                                              JUDGE
                                         UNITED STATES DISTRICT JUDG
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